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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

PAULITA CORONADO, JURATE                           §
KOPECKY, AND ENID LOPEZ,                           §
Individually and on Behalf of All Others           §         CIVIL ACTION NO.:
Similarly Situated,                                §            4:13-cv-02179
                                                   §
       Plaintiffs,                                 §     JURY TRIAL DEMANDED
                                                   §
V.                                                 §
                                                   §
D N.W. HOUSTON, INC. D/B/A/ GOLD                   §
CUP, et al.                                        §
                                                   §
       Defendants.                                 §

     PLAINTIFFS’RESPONSE TO DEFENDANTS’MOTION TO DISMISS CLAIMS
                        PURSUANT TO 9 U.S.C. § 4

       Plaintiffs Paulita Coronado, Jurate Kopecky, and Enid Lopez ("Representative

Plaintiffs") on behalf of themselves and on behalf of Esmeralda Garza, Courtnay Falcon, Jasmine

Wells, Leslie Dickinson, Robin Sandwick, Vanessa Argueta, Brittany Brown, Unique Johnson,

Angelica Beken, Crystal Gross, Sabrina Rios, Ranesha Newton, Veronica Arredondo, Amber

Kolenda, Tabbitha Martin, Hollie Powell, Jennifer Beals, Sarah Storm, Joy Murphy, Vanessa

Gross, Unique Roden, Ebonee Williams, Mary Jane Trueman, Krystan Murphy, Stephanie

Nguyen, Cami Jo Nelson, Amber Poyer, Nichole Jones, Crystal Phears, Lela Jordan, Slonne

Blanco, Kaila Childress, Jasmine Malone, and Amber Uddin (collectively herein, “Plaintiffs”)

file this Response to Defendants’D.N.W. Houston, Inc., d/b/a Gold Cup (“Gold Cup”), W.L.

York, Inc., d/b/a Cover Girls Houston (“Cover Girls Houston”), D. Houston, Inc., d/b/a

Treasures Houston (“Treasures”), A.H.D. Houston, Inc. d/b/a Centerfolds (“Centerfolds”), Ali

Davari, and Hassan Davari’s (“Defendants”) Motion to Dismiss Claims Pursuant to 9 U.S.C. §4,

(Doc. No. 36) and respectfully state as follows:

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             I.        INTRODUCTION AND STAGE OF THE PROCEEDINGS.

       Plaintiffs filed this lawsuit as a collective action alleging Defendants misclassified all

dancers as independent contractors and denied them minimum wages and overtime pay in

violation of the Fair Labor Standards Act (“FLSA”). On September 12, 2014, Plaintiffs filed

their First Amended Complaint adding D. Houston, Inc., d/b/a Treasures Houston (“Treasures”)

and A.H.D. Houston, Inc. d/b/a Centerfolds (“Centerfolds”) as Defendants.                Doc. No. 91.

Currently, 95 total plaintiffs have joined the lawsuit.         However, the Notice of Rights was

recently sent out on November 17, 2014 to approximately 2,900 additional class members who

worked at Treasures and/or Centerfolds. Plaintiffs anticipate additional dancers joining this

litigation. Defendants filed a motion to dismiss the claims of 34 opt-in plaintiffs based on two

purported arbitration agreements.          Defendants argue that the "old purported arbitration

agreement" applies to 33 opt-in plaintiffs and the "new purported arbitration agreement" applies

to one opt-in plaintiff. For reasons herein, Defendants' Motion with regards to both purported

arbitration agreements should be denied.

                                II.    SUMMARY OF ARGUMENT

       Defendants’ purported arbitration clause contained in the “License and Access

Agreement”fails for a number of reasons and the Plaintiffs’claims should not be dismissed from

the present litigation. In summary, Defendants’Motion fails for the following reasons:

       (1)        There is no agreement to arbitration because there is no consideration. The "old"
                  arbitration agreement can be terminated at any time and does not contain a
                  savings clause, rendering any consideration illusory.

       (2)        The purported arbitration clause in the "old agreement" does not require Plaintiffs
                  to arbitrate their claims against Ali Davari and Hassan Davari ("Davaris") and in
                  fact, specifically prohibits it by explicitly stating "[t]he arbitrator's authority to
                  resolve and make written awards is limited to claims between you and W.L.
                  York, Inc. d/b/a Cover Girls alone." As such, the Plaintiffs should not be



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                   compelled to arbitrate their claims against the Davaris, even if the court compels
                   arbitration against the corporate Defendants.

            (3)    No estoppel argument applies to allow the non-signatories to enforce the "old
                   arbitration agreement, because Texas does not recognize concerted misconduct as
                   a means for the remedy of equitable estoppel.

            (4)    The new and old arbitration clauses are unconscionable. The old arbitration
                   agreement imposes by contract a more limited statute of limitation by requiring
                   dancers to clear a 45-day procedural hurdle to attempt mediation prior even
                   initiating arbitration. The new arbitration agreement more brazenly imposes a
                   more limited statute of limitation by requiring arbitration to be "initiated" only
                   after mediation or the 45 day procedural hurdle. Additionally, the "new"
                   arbitration clause states that should the dancer prevail, "the dancer shall surrender,
                   reimburse and pay to Centerfolds all money received by the dancer at any time"
                   essentially waiving a plaintiffs' right to damages under the FLSA. Lastly, the
                   arbitration agreements are unconscionable because they illegal create a new right
                   that does not exist under the FLSA for the putative employer to recover attorneys’
                   fees in the event the dancer does not prevail.

           III.   Legal standard: Defendants’burden to compel this matter to arbitration.

            There is a two-step inquiry to determine whether a party should be compelled to arbitrate:

(1) whether the parties agreed to arbitrate the dispute and, if so, (2) whether any federal statute or

policy renders the claims non-arbitrable.1                    When analyzing step one, there are two

considerations: (a) whether there is a valid agreement to arbitrate between the parties and (b)

whether the dispute in question falls within the scope of that agreement.2 The party seeking to

compel arbitration has the burden to establish that a valid arbitration agreement exists.3 This

requires a showing that the agreement containing the arbitration clause “meets the requirements

of general contract law.”4 Submission of an authenticated copy of the agreement is necessary.5


1
    JP Morgan Chase & Co. v. Conegie ex rel Lee, 492 F.3d 596, 598 (5th Cir. 2007).
2
    Id.
3
  In re Oakwood Mobile Homes, Inc., 987 S.W.2d 571, 573 (Tex. 1999); Wachovia Sec., L.L.C. v. Emery, 186
S.W.3d 107, 113 (Tex. App.— Houston [1st Dist.] 2005, org. proceeding).
4
  See In re Advanced PCS Health L.P., 172 S.W.3d 603, 606 (Tex. 2005); UBS Fin. Serv., Inc. v. Branton, 241
S.W.3d 179, 184 (Tex. App.— Fort Worth 2007, no pet.).

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           In this case, there is no need to address whether the dispute in question falls within the

scope of that agreement, (b) above, because there is no valid agreement to arbitrate. The Federal

Arbitration Act (“FAA”) reflects a “liberal federal policy favoring arbitration.”6 However, the

“federal policy favoring arbitration does not apply to the determination of whether there is a

valid agreement to arbitrate between the parties;” rather, ordinary contract principles will

determine what parties are bound. 7 It is well established that an agreement to arbitrate is a matter

of contract.8 Thus, courts apply ordinary state-law principles that govern the formation of

contracts.9

           “[A]n employer attempting to enforce an arbitration agreement must show the agreement

meets all requisite contract elements.”10 The employer “‘must present complete summary proof

of his case in chief proving the existence of an arbitration agreement covering the claims at

issue.”11      Defendants bear the burden of showing a valid arbitration agreement existed.12

Defendants have only presented purported arbitration agreements between some clubs and some




5
    In re H.E. Butt Grocery Co., 17 S.W.3d 360, 367 (Tex. App.— Houston [14th Dist.] 2000, orig. proceeding.).
6
 CompuCredit Corp. v. Greenwood, 132 S. Ct. 665, 669, 2012 WL 43514, at *3 (Jan. 10, 2012) (quoting Moses H.
Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983)).
7
 Morrison v. Amway Corp., 517 F.3d 248, 254 (5th Cir. 2008); Fleetwood Enters., Inc. v. Gaskamp, 280 F.3d 1069,
1073 (5th Cir. 2002).
8
    Carey v. 24 Hour Fitness, USA, Inc., No. 10-20845, 2012 WL 205851, at *2 (5th Cir. Jan. 25, 2012).

9
    Morrison, 517 F.3d at 254. Here, Texas law applies.
10
     J.M. Davidson, Inc. v. Webster, 128 S.W.3d 223, 228 (Tex. 2003) (emphasis added).
11
  Murdock v. Trisun Healthcare, LLC, 03-10-00711-CV, 2013 WL 1955767 *2 (Tex. App.— Austin May 9, 2013,
no pet.) (citing, In re Jebbia, 26 S.W.3d 753, 757 (Tex. App.— Houston [14th Dist.] 2000, no pet.)).
12
   Weekley Homes, L.P. v. Rao, 336 S.W.3d 413, 419 (Tex. App.— Dallas 2011, pet. denied) (“A party attempting to
compel arbitration under the FAA must ‘(1) establish the existence of a valid arbitration agreement… ”) (internal
citations omitted).


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plaintiffs. Accordingly, for the clubs for which the Defendants have not presented arbitration

agreements, the plaintiffs should be entitled to remain in federal court to pursue those claims.

           “State-law contract principles govern questions of contract formation.”13 In Texas, “[t]he

elements needed to form a valid and binding contract are (1) offer; (2) acceptance in strict

compliance with the offer's terms; (3) a meeting of the minds; (4) consent by both parties; (5)

execution and delivery; and (6) consideration.”14 State-law contract principles also apply to

equitable estoppel theories. Here, Defendants have failed to show there is a valid contract

because the purported agreements contain illusory consideration; Defendants have failed to

provide any agreements to arbitrate between the 33 opt-in plaintiffs who are allegedly subject to

the "old" arbitration clause and the individually named Defendants; further, the purported

agreements presented are unconscionable because they eliminate Plaintiffs' FLSA substantive

rights.

       IV.      Arguments supporting denial of Defendants’Motion to Compel Arbitration.

       (1) The “License and Access Agreement” is based on illusory consideration because
           Defendants can terminate the contract unilaterally and retroactively.

           “A promise is illusory if it does not bind the promisor, such as when the promisor retains

the option to discontinue performance.”15                “When illusory promises are all that support a

purported bilateral contract, there is no mutuality of obligation, and therefore, no contract.”16

Texas law renders an arbitration clause illusory and unenforceable when it allows one party to

13
  Vallejo, 2013 WL 2417898 *5 (S.D. Tex. June 4, 2013) (citing, First Options of Chicago, Inc. v. Kaplan, 514 U.S.
938, 944, 115 S. Ct. 1920, (1995)).
14
  Nazareth Hall Nursing Ctr. v. Melendez, 372 S.W.3d 301, 305 (Tex. App.— El Paso 2012, no pet.); Advantage
Physical Therapy, Inc. v. Cruse, 165 S.W.3d 21, 24 (Tex. App.— Houston [14th Dist.] 2005, no pet.).
15
   Carrell v. L & S Plumbing P'ship, Ltd., CIV.A. H-10-2523, 2011 WL 3300067 *3 (S.D. Tex. Aug. 1, 2011)
(citing Mann Frankfort Stein & Lipp Advisors, Inc. v. Fielding, 289 S.W.3d 844, 849 (Tex.2009)).
16
     Id. (citing, Vanegas v. Am. Energy Servs., 302 S.W.3d 299, 301–02 (Tex.2009)).


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avoid its obligation by amending or terminating a provision unilaterally.17 “Put differently,

where one party to an arbitration agreement seeks to invoke arbitration to settle a dispute, if the

other party can suddenly change the terms of the agreement to avoid arbitration, then the

agreement was illusory from the outset.”18 If the modification or elimination of the clause does

not apply retroactively so as to allow the avoidance of arbitration, the promise to arbitrate is not

illusory.19 However, the arbitration agreement need not state that the modification will apply

retroactively, and in fact if it is silent, the law presumes that it applies retroactively.20

           Here, the “License and Access Agreement” states, “[Defendants] and the Dancer shall

have the right to terminate this agreement at any time and for any reason.”21 The "License and

Access Agreement" contains the arbitration clause. At best, the agreement is silent regarding the

retroactivity of the termination. Unmistakably, the agreement does not contain the required

“survival clause”which is common in arbitration agreements that would continue the rights and

duties to arbitration even after termination. Accordingly, because both parties have the ability to

not be bound by the terms of the purported contract, the agreement is illusory and does not bind

the parties to arbitration. On the other hand, if Plaintiffs are allowed to terminate the purported




17
  Carey v. 24 Hour Fitness, USA, Inc., 669 F.3d 202, 205 (5th Cir. 2012); see also, Sosa v. PARCO Oilfield
Services, Ltd., CIV.A.2:05-CV-153, 2006 WL 2821882 (E.D. Tex. Sept. 27, 2006) (“The Texas Supreme Court
noted most courts have held that ‘if a party retains the unilateral, unrestricted right to terminate the arbitration
agreement, it is illusory.’”).
18
     Carey v. 24 Hour Fitness, USA, Inc., 669 F.3d 202, 205 (5th Cir. 2012).

19
     Torres v. S.G.E. Mgmt., L.L.C., 397 Fed. Appx. 63, 67-68 (5th Cir. 2010).
20
  Torres v. S.G.E. Mgmt., L.L.C., 397 Fed. Appx. 63, 68 (5th Cir. 2010) (finding agreement retroactive when the
agreement contains no clause preventing a modification from applying to disputes arising before the modification.);
Carey v. 24 Hour Fitness, USA, Inc., 669 F.3d 202, 206 (5th Cir. 2012).
21
  Doc. No. 36-2, p. 9 ¶ 4; Doc. No. 36-3, p. 9-10 ¶ 4; Doc. No. 36-4, p. 7 ¶ 4; Doc No. 36-5, p. 9 ¶ 4 (emphasis
added).


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arbitration agreement “at any time,” they hereby terminate it.                          Either way, the purported

agreement is unenforceable.

       (2) The License and Access Agreement does not require Plaintiffs to arbitrate their
           claims against Ali Davari and Hassan Davari. The parties chose precise and clear
           language specifically prohibiting application of the arbitration agreement to any
           person other than the dancer and the corporate defendants.

           Under the FLSA, liability against an individual named as Defendant is possible and

common.22 With respect to whether plaintiffs agreed to arbitrate claims against the Davari

brothers individually, as mentioned above, the first question is whether there is a valid agreement

to arbitrate. Here there simply is no agreement to arbitrate between the Plaintiffs and Ali and

Hassan Davari (“the Davaris”).23                 Defendants have failed to produce a signed arbitration

agreement between the Davaris and the Plaintiffs to arbitrate claims arising from their

employment at Gold Cup, Cover Girls, Centerfolds or Treasures. "If the parties have not agreed

to arbitration, no trial court has discretion to make them go." In re Merrill Lynch Trust Co. FSB,

235 S.W.3d 185, 193 (Tex. 2007).                   Accordingly, even if the Court finds there is a valid

agreement to arbitrate between Gold Cup/Cover Girls/Centerfold and/or Treasures on the one

hand and Plaintiffs on the other, it does not include the Davaris individually.24


22
   Donovan v. Grim Hotel Co., 747 F.2d 966, 972 (5th Cir. 1984) (finding individual employer liability when
defendant “held their purse-strings and guided their policies. It was only he who could authorize compliance with
the Fair Labor Standards Act.”); Shultz v. Mack Farland & Sons Roofing Co., 413 F.2d 1296, 1302 (5th Cir. 1969)
(“[T]he court below correctly enjoined the defendants, including William A. McFarland, from future violations of
the Act and from the continued withholding of unpaid overtime compensation found to be due to their employees.”);
Donovan v. Janitorial Services, Inc., 672 F.2d 528, 531 (5th Cir. 1982) (“[The facts] support a conclusion that Meis
is an employer of the Johnson Disposal employees, within the meaning of FLSA s 3(d), 29 U.S.C. s 203(d)… ”);
Reich v. Priba Corp., 890 F. Supp. 586, 591 (N.D. Tex. 1995) (“Because Izzedin has been found to be an employer
within the meaning of the FLSA, he is jointly and severally liable for all damages which stem from Cabaret Royale's
failure to comply with the provisions of the FLSA.”); Lee v. Coahoma County, Miss., 937 F.2d 220, 226 (5th Cir.
1991); Reich v. Japan Enterprises Corp., 91 F.3d 154 (9th Cir. 1996) (“Sawada was personally liable for violations
at Ameriana's New Happiness Club.”).

23
  In re Banc One Inv. Advisors Corp., No. 01-07-01021-CV, 2008 WL 340507, at *2 (Tex. App. Feb. 7, 2008)
("Generally, only signatories to an arbitration agreement are bound by the agreement.").

24
     Exhibit A Lott v. DirecTV, et. al. (denying to compel arbitration for a non-signatory).

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           To remove any doubt, the agreement specifically prohibits any other party other than the

dancer and the club's corporate entity to arbitrate their claims. Defendants drafted the arbitration

clause to provide:

           "no arbitration award or decision will have any preclusive effect as to issues
           or claims in dispute with anyone who is not a named party to the
           arbitration."

And the parties to the “old”arbitration agreement are "you and W.L. York, Inc. d/b/a Cover

Girls alone;"25 "you and D.N.W. Houston, Inc. d/b/a Gold Cup alone;"26 and "you and

AH.D. Houston, Inc. d/b/a Centerfolds alone."27 The beginning of paragraph 10 also makes it

clear that "parties" is defined as the corporate defendant and the dancer. See, "[t]he parties,

[corporate defendant], and the dancer whose name is set below… "28 The scope of an arbitration

agreement is limited to that contracted by the parties.                 As if this were not clear enough,

Defendants went even further to exclude application to the Davari brothers by inserting the

following language:

           "arbitrator's authority to resolve and make written awards is limited to
           claims between [the dancer] and [the corporate entity] alone."29

Likewise, the corporate Defendants went out of their way to clarify that the Davari brother’s

individually cannot be parties to the arbitration in any representative capacity by drafting the

following language in paragraph 11:


25
  Doc. No. 112-20 (Exhibit S of Defendants' Motion-purported arbitration agreement for Jennifer Beals and Cover
Girls).
26
 Doc. No. 112-16 (Exhibit O of Defendants' Motion-purported arbitration agreement for Veronica Arredondo and
Gold Cup).
27
  Doc. No. 112-21 (Exhibit T of Defendants' Motion-purported arbitration agreement for Sarah Storm and
Centerfolds).
28
     Defendants' Motion to Dismiss, pg. 9.
29
     See, Doc. No. 112-20, Doc. No. 112-16, and Doc. No. 112-21 (emphasis added in bold).


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             “Arbitration shall proceed solely on an individual basis without the right for any
             claims to be arbitrated on a collective or class action basis or on bases involving
             claims brought in a purported representative capacity on behalf of others.”30

Even if Plaintiffs wanted to assert claims against the Davari brothers in their individual capacity,

Defendants drafted the arbitration clause to specifically prohibit such application:

             “Claims may not be joined or consolidated unless agreed to in writing by all
             parties.”31

Defendants cannot argue this provision applies only to joining multiple dancers in a single

arbitration, but allows multiple defendants to be joined in a single arbitration. To give any

meaning to this clause, drafted by the Defendants, it means neither other dancers nor other

defendants (i.e., Davari brothers) can be part of the same arbitration. As a result, the Plaintiffs

should not be compelled to arbitrate their claims against the Davaris.32

       (3) The Davari Defendants cannot rely on estoppel grounds to allow the non-signatories
           to enforce the old arbitration agreement because Texas does not recognize concerted
           misconduct as a basis for equitable estoppel.

             Defendants realized that the individual defendants are parties to the arbitration contract

and have since modified the language of the “new”purported arbitration agreement to define the

corporate entity as "its owners, directors, officers, managers, employees or agents."33

Defendants argue that the doctrine of equitable estoppel applies because of interdependent and

concerted misconduct, but cite to a Middle District of Florida case applying Florida State law in



30
     See, Defendants’Motion to Dismiss, pg. 10 ¶ 11.
31
     Id.
32
   In re Merrill Lynch Trust Co. FSB, 235 S.W.3d 185, 194 (Tex. 2007) (“And while conspirators consent to
accomplish an unlawful act, that does not mean they impliedly consent to each other's arbitration agreements. As
other contracts do not become binding on nonparties due to concerted misconduct, allowing arbitration
contracts to become binding on that basis would make them easier to enforce than other contracts, contrary to the
Arbitration Act's purpose.”) (emphasis added).
33
     Defendants' Motion to Dismiss, pg. 10.


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support.34     Here, unquestionably, Texas law controls the applicability of equitable estoppel.35

Texas courts have held, “… we have never compelled arbitration based solely on substantially

interdependent and concerted misconduct.”36 Consequently, Defendants benefit from equitable

estoppel based on interdependent and concerted misconduct to compel arbitration against non-

signatories. In re Merrill Lynch Trust Co. FSB, 235 S.W.3d 185, 194 (Tex. 2007) (“And while

conspirators consent to accomplish an unlawful act, that does not mean they impliedly consent to

each other's arbitration agreements. As other contracts do not become binding on nonparties

due to concerted misconduct, allowing arbitration contracts to become binding on that basis

would make them easier to enforce than other contracts, contrary to the Arbitration Act's

purpose.”) (emphasis added).

         As stated in In re Merrill Lynch Trust Co., FSB, "arbitration 'is a matter of consent, not

coercion, that the Act does not require parties to arbitrate when they have not agreed to do so,

and its purpose is to make arbitration agreements as enforceable as other contracts, but not more

so. Thus, arbitration is not required merely because two claims arise from the same

transaction… " 235 S.W.3d 185, 192 (Tex. 2007). Not only was the purported arbitration clause

never signed by the Davaris, it explicitly excludes the Davaris from arbitration. The law which

Defendants cite involves situations where the plaintiffs are seeking to enforce part of the

agreement containing the arbitration clause against the non-signatory.                       However, here the
34
  See, Defendants' Motion to Dismiss, pg. 23, (citing, Maldonado v. Mattress Firm, Inc., No. 8:13-CV-292-T-
33AEP, 2013 WL 2407086, at *4 (M.D. Fla. June 3, 2013)) ("Under Florida law, a non-signatory to an arbitration
agreement may compel a signatory to arbitrate under the theory of equitable estoppel.");
35
  Maldonado v. Mattress Firm, Inc., No. 8:13-CV-292-T-33AEP, 2013 WL 2407086, at *4 (M.D. Fla. June 3,
2013) ("However, 'a nonparty may force arbitration [only] if the relevant state contract law allows him to enforce the
agreement to arbitrate.”) (internal citations omitted).
36
  In re Merrill Lynch Trust Co. FSB, 235 S.W.3d 185, 191 (Tex. 2007); In re Banc One Inv. Advisors Corp., No.
01-07-01021-CV, 2008 WL 340507, at *2 (Tex. App. Feb. 7, 2008) ("Texas Supreme Court … has never compelled
arbitration based solely on interdependent and concerted misconduct.").



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Plaintiffs are not seeking to enforce any part of the License and Access Agreement and as such

are not trying to have it "both ways."37

           Defendants also cite to a case where they allege this Court compelled arbitration against a

non-signatory; however, in that case, the arbitration agreement contained the following language,

“ITT CFC and EMPLOYEE agree that any dispute between them or claim by either against the

other or any agent or affiliate of the other shall be resolved by binding arbitration....”38 The

language in the purported old arbitration agreement states the opposite and emphasizes that the

arbitrator has authority only over the claims between the corporate defendant and the dancer.

Specifically, the old purported arbitration clause states that, "[t]he arbitrator's authority to resolve

and make written awards is limited to claims between you and [corporate entity] alone… No

arbitration award or decision will have any preclusive effect as to issues or claims in any dispute

with anyone who is not a named party to the arbitration… The parties, [corporate entity] and the

dancer whose name is set below..."39              As discussed above, the language of the purported

arbitration clause explicitly states that it is an agreement between the dancer and the corporate

entity alone.

           Even if the Court finds that equitable estoppel is applicable to find the contract exists as

to the Davaris and the dancers, the scope of the arbitration clause itself authorizes does not grant

authority to the arbitrator to award any relief for or against the Plaintiffs or the Davaris. The

37
  Bridas S.A.P.I.C. v. Gov't of Turkmenistan, 345 F.3d 347, 361 (5th Cir. 2003) (“[The plaintiff] cannot, on the one
hand, seek to hold the nonsignatory liable pursuant to duties imposed by the agreement, which contains an
arbitration provision, but, on the other hand, deny arbitration's applicability because the defendant is a
nonsignatory.”)
38
   Hampton v. ITT Corp., 829 F. Supp. 202, 203 (S.D. Tex. 1993) (emphasis added); see also, Pacheco v. PCM
Const. Servs., LLC, No. 3:12-CV-4057-L, 2014 WL 145147, at *2 (N.D. Tex. Jan. 15, 2014) (containing arbitration
language as follows, “TO SUBMIT ANY DISPUTE BETWEEN EMPLOYEE AND THE COMPANY, OR ANY
OF THE COMPANY'S EMPLOYEES, REPRESENTATIVES, OR AGENTS, TO MANDATORY, BINDING
ARBITRATION.”) (emphasis added).
39
     Defendants' Motion to Dismiss, pg. 9-10.

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agreement states that the "arbitrator's authority to resolve and make written awards is

limited to claims between [the dancer] and [the corporate entity] alone."40                      As such, the

scope of the arbitration agreement is limited to claims between the corporate defendant and the

dancer, and the claims between the dancer and the Davaris should remain in federal court.

           Holding otherwise would put the Plaintiffs in a positon of having to arbitrate claims

against the Davari brothers who could object to any award against them due to the limiting

language of the contract regarding the arbitrator’s authority.

       (4) The License and Access Agreement is unconscionable because it amounts to a
           waiver of Plaintiffs’substantive claims under the FLSA, which is strictly forbidden.

           Texas law renders unconscionable contracts unenforceable.41 The License and Access

Agreement is unconscionable and as such should not be enforced by this court. Substantive

unconscionability refers to the fairness of the arbitration provision itself.42 “The test for

substantive unconscionability is whether, ‘given the parties' general commercial background and

the commercial needs of the particular trade or case, the clause involved is so one-sided that it is

unconscionable under the circumstances existing when the parties made the contract.’”43

Substantive rights to minimum wage and overtime pay may not be waived by contract or

otherwise.44 “One way an arbitration agreement may make a contract unconscionable is if “the



40
     See, Doc. No. 112-20, Doc. No. 112-16, and Doc. No. 112-21.
41
  Carrell v. L & S Plumbing P'ship, Ltd., CIV.A. H-10-2523, 2011 WL 3300067 (S.D. Tex. Aug. 1, 2011); In re
Olshan Found. Repair Co., LLC, 328 S.W.3d 883, 892 (Tex. 2010).
42
  Delfingen US-Texas, L.P. v. Valenzuela, 407 S.W.3d 791, 797-98 (Tex. App.— El Paso 2013, no pet.); see also,
Sw. Bell Tel. Co. v. DeLanney, 809 S.W.2d 493, 499 (Tex. 1991).
43
  Hafer v. Vanderbilt Mortg. & Fin., Inc., 793 F. Supp. 2d 987, 1004 (S.D. Tex. 2011) (citing, Palm Harbor Homes,
Inc., 195 S.W.3d at 678 (quoting FirstMerit Bank, 52 S.W.3d at 757)).
44
  Mayhue's Super Liquor Stores, Inc. v. Hodgson, 464 F.2d 1196, 1197 (5th Cir. 1972) (“The right to a minimum
wage under the Fair Labor Standards Act cannot be waived by agreement between the employee and his
employer.”); Brooklyn Sav. Bank v. O'Neil, 324 U.S. 697, 704, (1945) (“Where a private right is granted in the

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existence of large arbitration costs could preclude a litigant . . . from effectively vindicating [his

or her] federal statutory rights in the arbitral forum.”45

             On this issue, the U.S. Supreme Court has ruled that, “decisions interpreting the FLSA

have frequently emphasized the nonwaivable nature of an individual employee’s right to a

minimum wage and to overtime pay under the Act.”46 As such, the U.S. Supreme Court has,

“held that FLSA rights cannot be abridged by contract or otherwise waived because this would

‘nullify the purposes’ of the statute and thwart the legislative policies it was designed to

effectuate.”47 Moreover, the “principal congressional purpose in enacting the [FLSA] was to

protect all covered workers from substandard wages and oppressive working hours, ‘labor

conditions [that are] detrimental to the maintenance of the minimum standard of living necessary

for health, efficiency and general well-being of workers.’” Id. at 739. Indeed, the FLSA’s

provisions “are remedial and humanitarian in purpose,” and deal not with, “mere chattels or

articles of trade but with the rights of those who toil, of those who sacrifice a full measure of

their freedom and talents to the use and profit of others. Those are the rights that Congress has

specially legislated to protect.”48 It is vital that, “[s]uch a statute must not be interpreted or

applied in a narrow, grudging manner.”49


public interest to effectuate a legislative policy, waiver of a right so charged or colored with the public interest will
not be allowed where it would thwart the legislative policy which it was designed to effectuate.”).
45
  Exhibit A Lott v. DirecTV, et. al. Civil Action No. 9:11-cv-00173-RC (citing In re Olshan Found. Repair Co.,
LLC, 328 S.W.3d 883, 892 (Tex. 2010)).
46
     Barrentine v. Arkansas-Best Freight Sys., Inc., 450 U.S. 728, 740 (1981).
47
     Id.).
48
   Tennessee Coal, Iron & R. Co. v. Muscoda Local No. 123, 321 U.S. 590, 597 (1944); see also, Brooklyn Sav.
Bank v. O'Neil, 324 U.S. 697, 710, 65 S. Ct. 895, 903, 89 L. Ed. 1296 (1945) (“To allow contracts for waiver of
liquidated damages approximates situations where courts have uniformly held that contracts tending to encourage
violation of laws are void as contrary to public policy.”).
49
     Id.

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           The law is clear that any employer who violates the provisions of section 206 or section

207 of the FLSA is liable to the employee or employees in the amount of their unpaid minimum

wages, or their unpaid overtime compensation, as the case may be, and liquidated damages. 29

U.S.C. § 216. Employees are entitled to liquidated damages under the FLSA in an amount equal

to their awards for minimum wage and overtime payments. Id. Plaintiffs who are successful in

their claims are also entitled to reasonable expenses and attorney's fees. Gagnon v. United

Technisource, Inc., 607 F.3d 1036, 1043 (5th Cir. 2010).

           Here, the purported arbitration agreement states that “the Dancer shall indemnify, hold

harmless and pay for [Defendants’] Defense from and against any and all claims, losses, or

liability including attorneys’fees, arising from or relating to the Dancer’s relationship with

[Defendants], including liability arising from [Defendants’] own negligence.”50 It also states, “In

the event any action is commenced to enforce or interpret the terms or conditions of this

Agreement, [Defendants] shall in addition to any costs or other relief, be entitled to recover its

reasonable attorneys’fees.”51 These indemnification provisions not only prevent the Plaintiff

from recovering attorneys’fees, but force the Plaintiff to pay for Defendants’attorneys’fees

regardless of who prevails, a fee-shifting provision that is absent from the FLSA due to its

remedial nature. Clearly, using the term “arising from”Defendants intended the agreement to

cover every potential claim that could ever be made, including a claim under the FLSA. This is

an attempt to waive a substantive right under the FLSA (recover of attorneys’fees to a successful

plaintiff). Further, the fee-shifting provision creates the “fear”that the FLSA was designed to




50
     Doc. No. 36-2, p. 9; Doc. No. 36-3, p. 9-10; Doc. No. 36-4, p. 7; Doc No. 36-5, p. 9.
51
     Id.


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prevent.52        The mere threat of having to pay tens of thousands of dollars imposes a real

deterrence to even asserting, nevertheless exercising their rights. This deterrence through fear is

something the Defendants have previously attempted.53

            As one court put it in examining a provision where the Plaintiff had to pay for

Defendants’attorney’s fees if they did not prevail, “This effectively turns the FLSA on its head:

29 U.S.C. § 216(b) provides that a successful claimant has the right to receive reasonable

attorney’s fees and costs.”54 Here, the provisions are even more outrageous. Not only does it

dictate that the Plaintiffs pay for Defendants’attorneys’fees, but the indemnification provision

bars Plaintiffs from recovering their attorneys’fees (or anything for that matter). Put simply, the

arbitration clause is unconscionable on its face.

            Further, the FLSA has a two year statute of limitations and extends it to three years if

there is a willful violation by the employer.55 The statute of limitations is stopped by the filing

of the employee’s written consent.56 If the employee previously continuously worked for the

Defendants within and outside of those two years, if the violation is not found to be willful, each

day that passes diminishes his or her claim by a day’s worth.                     It is not a stretch of the

imagination to conclude that it is the employer’s purpose to delay the employees’filing of their

consents in order to diminish their claims. Here, Plaintiffs are forced to mediate their claims

prior to filing for arbitration and are not permitted to file their arbitration demand until after “the
52
   Silva v. Miller, 547 F. Supp. 2d 1299, 1304 (S.D. Fla. 2008) aff'd, 307 Fed. Appx. 349 (11th Cir. 2009)
(“Congress encourages the filing of meritorious FLSA claims by providing for the recovery of reasonable attorney's
fees.”)
53
  See Doc. No. 14 (Defendants’Motion for Leave to File Counterclaim) and Doc. No. 21 (Defendants’Reply in
support of Counterclaim).
54
     See Exhibit A, p. 7 (Lott v. DirecTV, et. al).
55
     29 U.S.C. §255(a).
56
     29 U.S.C. §256.


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initial mediation session or until 45 days after the filing the written request for mediation,

whichever occurs first.”57 Because damages accrue literally on a daily or weekly basis under the

FLSA, the mandatory delay of mediation mean the employees lose their FLSA rights.58 Such

surreptitious waivers are just as illegal as explicit ones, rendering the arbitration agreement void.

           Moreover, the License and Access Agreement is unconscionable because its language

requires the Plaintiffs to pay for the entire cost of arbitration and the arbitrators’ fee. An

arbitration clause is unenforceable when it imposes substantial costs on one of the parties to the

agreement. See, e.g., Green Tree Fin. Corp. v. Randolph, 531 U.S. 79, 91 (2000). Specifically,

the United States Supreme Court recognized that “the existence of large arbitration costs could

preclude a litigant … from vindicating federal statutory rights.”Id. In this case, the arbitration

agreement mandates that the arbitration proceeding be conducted through the American

Arbitration Association (“AAA”).

           The License and Access Agreement states, “The Dancer shall indemnify, hold harmless,

and pay for [Defendants’] defense from and against any and all claims, losses, or liability,

including attorneys’ fees, arising from or relating to the Dancer’s relationship with

[Defendants]… ”(emphasis added). This indemnification provision is broad enough to include

the entire cost of arbitration including the filing fee and the arbitrators’fee, which greatly exceed

the cost of filing in federal court.59 Further, if interpreted as silent on the issue of cost, under

AAA rules, absent a statement in the arbitration clause regarding who pays for such fees upfront,

57
  Doc. No. 36-2, p. 9 ¶ 10; Doc. No. 36-3, p. 9-10 ¶ 10; Doc. No. 36-4, p. 7 ¶ 10; Doc No. 36-5, p. 9 ¶ 10 (“All
disputes, claims, or controversies… shall be submitted to the [AAA] for mediation.”).
58
   Tennessee Coal, Iron & R. Co. v. Muscoda Local No. 123, 321 U.S. 590, 597 (1944); see also, Brooklyn Sav.
Bank v. O'Neil, 324 U.S. 697, 710, 65 S. Ct. 895, 903, 89 L. Ed. 1296 (1945) (“To allow contracts for waiver of
liquidated damages approximates situations where courts have uniformly held that contracts tending to encourage
violation of laws are void as contrary to public policy.”).
59
     Exhibit B (AAA cost of arbitration).


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both parties are required to pay the arbitrator’s fees and related costs equally. Such an agreement

is unconscionable because it imposes substantial costs on the Plaintiffs relative to the

Defendants. Thus, the costs for this arbitration are substantially greater than the costs that would

be incurred in litigation. In fact, these costs are weighed heavily against the Plaintiffs. Thus, the

agreement is unconscionable as it prevents the Plaintiffs from litigating their statutory rights

under the FLSA.

           Lastly, the agreement is unconscionable because it limits the damages that the dancers

can claim and essentially limits their recovery to less than the minimum wage per hour. The

"new" agreement states that if the dancer is found to be an employee, the dancer "shall surrender,

reimburse and pay to Centerfolds all money received by the dancer at any time she performed on

the premises of centerfolds."60 This provision waives substantive FLSA rights.

           "The FLSA requires employers to pay employees a minimum wage of $7.25 an hour for

any hours worked on or after July 24, 2009."61 "[A]ll tips received by an employee must be

retained by the employee… "62 Here, there is no question that the money received directly from

customers for dances performed is a tip. To mandate that dancers return those tips to the club if

found to be employees amounts to a waiver of substantive rights and as such should invalidate

the arbitration clause.

                                            V.       CONCLUSION.

           For the reasons stated herein, Defendants’Motion to Dismiss Claims Pursuant to 9

U.S.C. §4 should be denied in its entirety. Alternatively, the Court should deny Defendants’



60
     Doc. No. 112, Defendants' Motion to Dismiss, pg. 15.
61
     Pedigo v. Austin Rumba, Inc., 722 F. Supp. 2d 714, 721 (W.D. Tex. 2010).
62
     Pedigo v. Austin Rumba, Inc., 722 F. Supp. 2d 714, 721 (W.D. Tex. 2010).


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Motion with respect to the individual Defendants for the reasons stated above, and grant any

other relief to which the Plaintiffs may be entitled at law or in equity.



                                                 Respectfully submitted,

                                                 KENNEDY HODGES, L.L.P.

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                                  CERTIFICATE OF SERVICE


        I certify that on December 2, 2014, I electronically filed the foregoing with the Clerk of
Court by using the CM/ECF system, which will send a notice of electronic filing to all counsel of
record:

                                        /s/ Beatriz Sosa-Morris
                                        Beatriz Sosa-Morris



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